                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )       No. 3-09-00218
v.                                            )
                                              )
VAZGEN FAKHOORIAN                             )


                                            ORDER


        The defendant's motion for leave to file under seal (Docket Entry No. 227) is GRANTED.

        The Clerk is directed to maintain the defendant's motion to release passport and attachment

thereto (Docket Entry Nos. 228 and 228-1) UNDER SEAL.

        Upon the Court's request, a telephone conference call was held with counsel for the

government, counsel for the defendant, the defendant's Pretrial Services Officer, and the Court on

June 23, 2011, at which time counsel for the government and the Pretrial Services Officer

represented that they had no objections to the defendant's motion to release passport (Docket Entry

No. 228) and it is GRANTED.

        The Pretrial Services Officer shall release the defendant's passport to the defendant on

June 23, 2011.

        The defendant shall return the passport to the Pretrial Services Officer on Monday, June 27,

2011.

        It is so ORDERED.



                                              JULIET GRIFFIN
                                              United States Magistrate Judge




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